     Case 4:24-cv-00897      Document 57       Filed on 01/23/25 in TXSD       Page 1 of 4
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                     January 23, 2025
                   IN THE UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                  MEMORANDUM AND RECOMMENDATION

       Plaintiff, a veteran litigant proceeding pro se, initiated this case in state court

on December 21, 2023, as part of an approximately 14-year effort by herself and her

family to thwart foreclosure on property located in Kingwood, Texas (Property).1

ECF 1-4; See also ECF 18, ECF 33-3 at 36-37.                    Defendant PHH Mortgage

Corporation (PHH) timely removed the action to federal court asserting federal

subject matter jurisdiction based on the following: (i) the action was “related-to”

Plaintiff’s bankruptcy proceeding; (ii) Plaintiff alleged a federal due process

violation; and (iii) complete diversity exists between the parties. ECF 1 at 4. On

June 17, 2024, the Court denied Plaintiff’s Emergency Motion to Remand (ECF 5),

holding that subject matter jurisdiction existed at the time of removal because this



1
 The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
   Case 4:24-cv-00897     Document 57     Filed on 01/23/25 in TXSD     Page 2 of 4




matter was related to Plaintiff’s pending bankruptcy proceeding and that “PHH did

not violate the automatic stay when it removed the suit to this Court.” ECF 18.

      The case is now before the Court on Plaintiff’s “Verified Motion to Dismiss

for Lack of Jurisdiction.” ECF 33. Plaintiff styled her filing as a motion to dismiss,

but in substance it is a motion for reconsideration of the Court’s June 17, 2024 Order

denying her Emergency Motion to Remand. Denial of a motion to remand is an

interlocutory order. Smith-Hubbard v. AMICA Mut. Ins. Co., No. 23-40331, 2024

WL 747249, at *3 (5th Cir. Feb. 23, 2024) (citations omitted)). The Fifth Circuit has

held that, pursuant to Federal Rule of Civil Procedure 54(b), a district court is “free

to reconsider and reverse [an interlocutory order] for any reason it deems sufficient,

even in the absence of new evidence or an intervening change in or clarification of

the substantive law.” Austin v. Kroger Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017)

(citations omitted). However, district courts must exercise their broad discretion to

reconsider interlocutory orders “sparingly to prevent the unnecessary reexamination

of interlocutory orders with the resulting burdens, including expense and delay.”

Caramba, Inc. v. Nationwide Mut. Fire Ins. Co., No. CV H-19-1973, 2021 WL

259388, at *2 (S.D. Tex. Jan. 26, 2021) (citations omitted). The Court finds no

reason to reconsider the June 17, 2024 Order denying Plaintiff’s Emergency Motion

to Remand.




                                          2
    Case 4:24-cv-00897       Document 57       Filed on 01/23/25 in TXSD         Page 3 of 4




       Contrary to what Plaintiff argues, subject matter jurisdiction existed in this

Court at the time of removal. Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883

(5th Cir. 2000) (holding that “jurisdictional facts that support removal must be

judged at the time of the removal”); Velasco v. Amazon.com Servs., LLC, No. 4:23-

CV-03897, 2024 WL 1071873, at *2 (S.D. Tex. Mar. 12, 2024) (citations omitted).

Plaintiff contends this Court lacks subject matter jurisdiction because the case should

have been removed to bankruptcy court rather than district court. ECF 33 at 4.

Plaintiff is incorrect. Under 28 U.S.C. § 1334, district courts have original and

exclusive jurisdiction over bankruptcy cases, and bankruptcy courts may have

authority by reference under 28 U.S.C. § 157. In re Kevco Inc., 113 F. App'x 29,

31 n.9 (5th Cir. 2004) (citing statutes); see also In re Mugica, 362 B.R. 782, 788

(Bankr. S.D. Tex. 2007) (citing statutes). Therefore, 28 U.S.C. § 1441(a) permits

removal of a case from state court to district court, not directly to the bankruptcy

court. Under General Order 2012-06, the usual procedure in the Southern District

of Texas is for the district court to transfer to the bankruptcy court a removed case

which is related to a pending bankruptcy matter.2 However, General Order 2012-06

is a matter of procedure and does not divest the district court, of which the

bankruptcy court is a unit, of subject matter jurisdiction. See Matter of Imperial



2
     General    Order     2012-06,     on    which    Plaintiff   relies,   is    available    at
https://www.txs.uscourts.gov/district/genord#2012 (last viewed 01.23.25).
                                               3
      Case 4:24-cv-00897       Document 57       Filed on 01/23/25 in TXSD      Page 4 of 4




Petroleum Recovery Corp., 84 F.4th 264, 271 (5th Cir. 2023) (recognizing that

“bankruptcy courts operate as arms of district courts”). Further, at the time the Court

ruled on Plaintiff’s Emergency Motion to Remand, her bankruptcy proceeding, like

the one before it,3 had been dismissed for Debtor’s failure to comply with required

filings. In re Joanna Burke, Bankruptcy Case No. 24-30885, slip op. April 1, 2024

(ECF 24). Therefore, no pending bankruptcy case warranted a referral to bankruptcy

court.

         For these reasons, the Court RECOMMENDS that Plaintiff’s “Verified

Motion to Dismiss for Lack of Jurisdiction” (ECF 33) be DENIED.

         The Clerk of the Court shall send copies of the memorandum and

recommendation to the respective parties, who will then have fourteen days to file

written objections, pursuant to 28 U.S.C. § 636(b)(1)(C). Failure to file written

objections within the period provided will bar an aggrieved party from attacking the

factual findings and legal conclusions on appeal. Douglass v. United Servs. Auto.

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc), superseded by statute on

other grounds.

Signed on January 23, 2025, at Houston, Texas.



                                                              Christina A. Bryan
                                                         United States Magistrate Judge


3
    See In re Burke, Bankruptcy Case No. 23-35083, slip op. Jan. 17, 2024 (ECF 15).
                                                 4
